THE LAw Orrices Or ANDREW J. FRISCH, PLLC

February 11, 2025

The Honorable Eric R. Komitee
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: United States v. Carlos Watson and OZY Media, Inc., Docket No. 23-00082 (EK)

Dear Judge Komitee:

At yesterday afternoon’s conference, I neglected to ask the Court to stay any
orders of forfeiture and restitution pending appeal for the same reasons advanced on December
16, 2024, in support of my requested stay of the custody portion of the judgment. See Tr. at 98-
99. By this letter, I apply for a stay pending appeal of any orders of forfeiture and/or restitution
for the reasons previously stated. The government has advised me that it opposes the application.

Respectfully,

/s/ Andrew J. Frisch

cc: Counsel of Record

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